Case 5:12-cv-00920-VAP-DTB Document 110 Filed 05/22/13 Page 1 of 1 Page ID #:1449


    WHEN RECORDED M
    Rebeca Valenie’
    MANNIN(A
    ELLRAJTh.EZ, TRESTER LLP
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              CA 92101


                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                  E NUMBER:
   FRONTERA TELEVISION NETWORK, LLP

                                      PLAINTIFF(S),       CV EDV1             20-yAP (DTBx)
                             V.


                                                                               OF JUDGMENT/ORDER
   ALEJANDRO CARRILLO GARZA SADA, et al.

                                    DEFENDA


   I certify that in the above-entitle        nCourt, Judgment/Order was entered on 1/16/2013
   in favor of Alfredo Carillo ChontItwsky and Jose Carrillo Chontkowsky
   whose address is [do their attorneys:] 550 West C Street, Ste. 1900, San Diego, CA 92101
   and against Frontera Television Network, LLP
   whose last known address is 16299 Foothill Blvd., Fontana, CA 92335
   for $         -0-             Principal,                        Interest, $ 22,962.80                Costs,
   and $ including               Attorney Fees.

   ATTESTED this                          day of        May         , 2013.
   Judgment debtor’s driver’s license no. and state;                          (last4digits) 0 Unknown
   Judgment debtor’s Social Security number;                                  (last4digits) EI Unknn
   E No stay of enforcement ordered by Court
       Stay of enforcement ordered by Court, stay date ends



   Judgment debtor’s attorney’s name and address and/or address at which sum rt seed:
                                                                                      NARSI
   Jose Aquino                                                                   ,U.S. DISTRICT COURT
   711S.CarsonStreet,#4
   CarsonCity,NV89701                                         By
                                                                                V
                                                                                           Clerk



   NOTE: JUDGMENTS REGISTERED UNDER 28 U.S.C. §1 963 BEAR THE RATE OF INTEREST OF THE DISTRICT OF ORIGIN
   AND CALCULATED AS OF THE DATE OF ENTRY IN THATDISTRICT.

   G-18(03/12)                             ABSTRACT OFJUDGMENTIORDER
